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IN THE UNITED STATES DISTRICT COUR'I`
FOR THE SOUTHERN DlSTRICT OF TEXAS

HOUSTON DIVISION

NORA SOTO GUTIERREZ, §
§
PLAINTIFF §
§
§

vi. § CIVIL ACTION NO. H-07-017l
§
§
SUSAN EISENER H]ATT, §
SYLVIA R. GARCIA and §
PATRICE BARRON, §
§
DEFENDANTS. §

ORDER GRANTING DEFENDANT
’ f
PATRICE BARRCN S MOTION TO DISMISS 1a z\ l N b 5 L¢'/

CAME ON TO BE CONSIDERED Defendant Patrice Ba.rron’s Motion to Dismiss/\ The
Court, having considered the motion, the response, the pleadings on file herein, and the
applicable law, finds that said motion is meritorious and well-taken.

Accordingly, Defendant Patrice Barron’s Motion to Dismiss is hereby GRANTED.
Plaintiff Nora Sota Gutierrez, pro se’s claims against Defendant Patrice Barronare hereby
dismissed with prejudicel Defendant Patrice Barron is hereby dismissed from this lawsuit.

lt is so ORDERED.

Signed on this the l ¢qkz .day of (\)U\/ ‘ 2007.

VANESSA D. GILMORE
UNITED STATES DISTRICT JUDGE

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